1:17-cv-01110-SLD # 24
                    15   Page 1 of 12                                   E-FILED
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1:17-cv-01110-SLD # 24
                    15   Page 2 of 12
1:17-cv-01110-SLD # 24
                    15   Page 3 of 12
1:17-cv-01110-SLD # 24
                    15   Page 4 of 12
1:17-cv-01110-SLD # 24
                    15   Page 5 of 12
1:17-cv-01110-SLD # 24
                    15   Page 6 of 12
1:17-cv-01110-SLD # 24
                    15   Page 7 of 12
1:17-cv-01110-SLD # 24
                    15   Page 8 of 12
1:17-cv-01110-SLD # 24
                    15   Page 9 of 12
1:17-cv-01110-SLD # 24
                    15   Page 10 of 12
1:17-cv-01110-SLD # 24
                    15   Page 11 of 12
1:17-cv-01110-SLD # 24
                    15   Page 12 of 12
